                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS



NEW BALANCE ATHLETICS, INC.,

                     Plaintiff,

       v.                                            Civil Action No. 1:20-cv-12045-LTS

BALANCE ATHLETICA, LLC,

                     Defendant.



               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff New

Balance Athletics, Inc. and Defendant Balance Athletica, LLC (together, the “Parties”), by and

through their respective counsel, hereby stipulate that the above-captioned action may be and

hereby is dismissed with prejudice in its entirety, with each Party bearing its own costs, expenses,

and attorneys’ fees.


Dated: September 23, 2021
Respectfully Submitted,

 NEW BALANCE ATHLETICS, INC.                          BALANCE ATHLETICA, LLC

 By its Attorneys,                                    By its Attorneys,

 /s/ Mark S. Puzella                                  /s/ Courtney Batliner

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 23, 2021, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to the attorneys of record by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s system.

                                                  /s/ Mark S. Puzella

                                                  Mark S. Puzella
